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            -u        5 yJ
                         ^    UNITED STATES DISTRICT COURT
                         'H'OR the district of massachuse^

            EQUAL MEANS EQUAL,
            JANE DOE,
            MARY DOE,
            SUSAN DOE,
            THE NATIONAL COALITION AGAINST
            VIOLENT ATHLETES,
            Iand similarly situated others                            Case No. 1:17cv 12043-MLW

                                                Plaintiffs,

                                                                      AFFIDAVIT IN RESPONSE TO
                                                                      COURT'S ORDER TO
                                                                      SHOW CAUSE



0           UNITED STATES DEPARTMENT of
            EDUCATION,
            and
            BETSY DEVOS, in her official capacity as
            Secretary of Education,

                                               Defendants.



                    I, Wendy J. Murphy, hereby state under penalty of perjury:

            1.      This affidavit is submitted in response to the Court's December 3,2018 show
            cause order.


        i   2.      I represent the Plaintiffs in the above-entitled matter. 1 filed this case on behalf of
            the Plaintiffs and the public interest. My work in this case is entirely pro bono.

            3.      I mistakenly submitted an untimely motion for extension of time to file my
    g       response to Defendants' Motion to Dismiss. 1 did not intend to offend the Court but
            acknowledge that 1may have unintentionally done so. If an apology is appropriate in an
            affidavit, it is sincerely rendered. Nothing 1state below is intended to detract from this
            basic point. I accept responsibility for my error and offer the following facts as an
            explanation, not an excuse, for my mistake.

            4.      I teach sexual violence law as an adjunct professor at New England LawjBoston,
            where I also run the Women's and Children's Advocacy Project. To a lesser extent, 1
            practice law as a sole practitioner, assisted by law students in public interest cases when
